      Case: 3:20-cv-00224-NBB Doc #: 76 Filed: 02/22/21 1 of 17 PageID #: 1496




                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               OXFORD DIVISION


JOHN RASH                                                                        PLAINTIFF


VS.                                         CIVIL ACTION NO.: 3:20-CV-224-NBB-RP

LAFAYETTE COUNTY, MISSISSIPPI                                                 DEFENDANT




MEMORANDUM OF AUTHORITIES IN SUPPORT OF RESPONSE TO PLAINTIFF’S
               MOTION FOR SUMMARY JUDGMENT



       COMES NOW, Lafayette County, Mississippi, the Defendant in the above-styled and

numbered cause, by and through counsel, and files its Memorandum of Authorities in Support of

its Response to Plaintiff’s Motion for Summary Judgment, and would state as follows:

                                         I. Introduction

       In order to avoid unnecessary duplication, the defendant incorporates the sections of its

Motion for Summary Judgment, referenced exhibits, and supporting Memorandum of Authorities

which address the three issues raised in the present motion: (1) whether the Circuit Courthouse

grounds are a traditional or designated public forum, (2) whether the “dusk to dawn” restriction

on the use of the Courthouse grounds is narrowly tailored to serve a significant governmental

interest, and (3) whether the Facility Use Policy’s permit requirement constitutes an

unconstitutional prior restraint. The following is added to address selected additional points

raised in Plaintiff’s Motion for Partial Summary Judgment.
      Case: 3:20-cv-00224-NBB Doc #: 76 Filed: 02/22/21 2 of 17 PageID #: 1497




               II. Courthouse is not a “Traditional Public Forum”

       Rash contends that the Courthouse grounds constitute a “Traditional Public Forum” by

virtue of its physical characteristics and the kinds of uses which the County has permitted since

the adoption of the Facility Use Policy in 2015. This contention ignores the essential character of

the Circuit Courthouse grounds as a place of court business and is contrary to the overwhelming,

and virtually unanimous, weight of authority which has rejected similar claims. Typically, the

Supreme Court and other federal courts which have considered whether public property at issue

constitutes a “traditional public forum” have applied a historical-categorical approach in

resolving the issue. See Verlo v. Martinez, 262 F. Supp. 3d 1113, 1144 – 45 (D. Colo. 2017)

(vast weight of Supreme Court authority approaches traditional public forum question by asking

whether public space fits within a pre-existing category declared by Supreme Court); see also

Perry Educ. Ass’n .v. Perry Local Educators Ass’n, 460 U.S. 37, 45 (1983) (traditional public

fora are typically confined to areas such as public streets and parks that, since “time out of mind,

have been used for purposes of assembly, communicating thoughts between citizens, and

discussing public questions. ); Hodge v. Talkin, 799 F.3d 1145 (D.C. Cir. 2015).

       In our case, the summary judgment record shows that since its opening in 1872 to the

present, the Circuit Courthouse has housed various county government functions, including the

circuit courts, circuit clerk, drug court, election commission, and judges’ offices. The grounds

surrounding the Courthouse are configured in an octagon shape and are bordered and defined on

all sides by an iron fence, a retaining wall and curb, and a perimeter sidewalk on the outside of

the fence which connects to cross walks on each side of the Courthouse. Three heavily travelled

main roadways (Lamar, Jackson and Van Buren Avenues) intersect at the Square and the

combined traffic is routed in a single direction around the Courthouse. The one-way road which




                                                                                                  2
      Case: 3:20-cv-00224-NBB Doc #: 76 Filed: 02/22/21 3 of 17 PageID #: 1498




encircles the Courthouse, together with the retaining wall, curb and fencing, separate the

Courthouse from the retail shops, restaurants, bars, other businesses, and parking areas which

form the “Oxford Town Square,” (Defendant’s MSJ, Exhibit A). The confined Courthouse

grounds contain several benches, small grassy areas interlineated with bricked sidewalks, and

large trees, but the function and size of the Courthouse and its grounds do not offer a “park-like”

setting. Further, the roads, sidewalks, fencing and retaining walls which encircle the Courthouse

grounds serve to physically and visually separate the grounds from the other areas of the Square.

Rash’s argument that the Courthouse grounds should be viewed as a “park-like” setting that is

functionally integrated into other areas of the Square ignores the obvious and overwhelming

characteristics of its physical design. See Grace.

       In support of his position, Rash principally relies on NAACP v. Peterman, 2020 U.S.

Dist. LEXIS 146796 (M.D. N.C. 2020) for the proposition that a Courthouse grounds constitutes

a traditional public forum for purposes of First Amendment analysis. In Peterman, the district

court considered whether a sheriff’s “total ban” on the use of certain areas around a Courthouse

constituted a reasonable time, place, and manner restriction consistent with Ward v. Rock

Against Racism, 491 U.S. 781 (1989). Significantly, the court preliminarily noted that it was

“undisputed” for purposes of the motion under consideration that certain areas around the

Courthouse subject to the ban (including the “courthouse steps, sidewalks surrounding it,

including the paved reserve space between the sidewalk and the monument, and the lawns at the

courthouse coroners”) were a “traditional public forum.” Peterman,p. *17. Peterman therefore

offers no support for the plaintiff’s argument. To the same effect is O’Connell v. Town of

Burgaw, 262 F. Supp. 3d 316 (E.D. N.C. 2017) where the court likewise assumed, without




                                                                                                 3
      Case: 3:20-cv-00224-NBB Doc #: 76 Filed: 02/22/21 4 of 17 PageID #: 1499




analysis, that the County Courthouse Square and its surrounding public streets and sidewalks

were traditional public fora.

       Finally, Rash alleges that the actual “uses” allowed on the Courthouse grounds further

supports a finding that the grounds serve as a traditional public forum. But the few uses to which

Rash refers have occurred only since 2018 and only after the County instituted the Facility Use

Policy. Thus, they are not the type of historical and longstanding “First Amendment speech” uses

which would serve to transform a public space into a traditional public forum.



               The Lafayette County Courthouse is not a Designated Unlimited Public
                                        Forum

       Rash alternatively argues that the Defendant has created or “designated” the Courthouse

grounds as an unlimited “designated public forum” by adopting the Facility Use Policy in 2015.

As pointed out in its brief in support of the Defendant’s Motion for Summary Judgment, the

Defendant acknowledges that a government entity may create an unlimited designated public

forum if the government property has not traditionally been regarded as a public forum “but is

intentionally opened up for that purpose.” Pleasant Grove City v. Summun, 555 U.S. 460, 470

(2009). The government does not create a designated public forum by inaction or by permitting

limited discourse but only by intentionally opening a nontraditional forum for public discourse.

See Cornelius v. NAACP Legal Defense fund, Inc., 473 U.S. 788, 802 (1985). “Public

discourse” in this context means “indiscriminate use”. Hazelwood School Dist. v. Kuhlmeyer,

484 U.S. 260, 267 (1988). The government must make the property at issue “generally available”

or “generally open” to all discourse.




                                                                                                4
      Case: 3:20-cv-00224-NBB Doc #: 76 Filed: 02/22/21 5 of 17 PageID #: 1500




On the other hand, a designated public forum is not created when the government allows

selective access for individual speakers or for limited purposes rather than general access for a

class of speakers. See Arkansas Educational Television Commission v. Forbes, 523 U.S. 666,

677 (1998). Thus, the government does not create an unlimited designated public forum akin to a

traditional public forum “when it does no more than reserve eligibility for access to the forum to

a particular class of speakers, whose members must then, as individuals, obtain permission.”

Forbes, Id at 679. In resolving this issue, the Supreme Court has looked to the policy and practice

of the government to ascertain whether it intended to designate a place not traditionally open to

assembly and debate as either an unlimited or “limited” public forum. The court also examines

the nature of the property and its compatibility with the expressive activity to discern the

government’s intent. See Forbes, Id at 679; see also Walker, 135 S. Ct. at 2250. Significantly,

just as the government may intentionally “designate” its property as either an unlimited or

limited public forum, it may, by the same token, withdraw that designation at its discretion.

Perry, 460 U.S. at 46; see also Wells v. City & County of Denver, 257 F.3d 1132, 1145 (10th Cir.

2001) (designated public fora differ from traditional public fora in that a state is not required to

indefinitely retain the open character of the facility); United States v. Gilbert, 130 F.3d 1458,

1461 (11th Cir. 1997) (a government is not required to retain indefinitely the open character of a

facility; government properly exercised its right, indeed, in this case, its duty, to safeguard the

courthouse by imposing further restrictions in removing the public form designation); Satanic

Temple v. City of Belle Plaine, 2020 U.S. Dist. LEXIS 136321 (D. Minn. 2020) (city’s decision

to rescind policy which opened a city park as a limited public forum did not violate plaintiff’s

First Amendment rights).




                                                                                                  5
      Case: 3:20-cv-00224-NBB Doc #: 76 Filed: 02/22/21 6 of 17 PageID #: 1501




       The existence of a permitting scheme with limits on “who and when” for use of the

grounds, together with the character of the grounds which primarily serve as a place of court

business, contradict the notion that the County has created an unlimited “designated public

forum” for the general and unfettered use of the general public as a place of “public discourse.”

The County’s Facility Use Policy, as applied to the use of the Courthouse grounds, limits the

nature of the activities (nonprofit and political organizations for discussion only) and time of use

(Monday through Friday and limited weekends, and no use from “dusk to dawn”), all subject to

specific permission. (See Defendant’s Motion for Summary Judgment, Exhibit X).

       Granted, although the actual use of the grounds has been consistent with the stated policy

(including art shows), there have been occasional uses which do not comport with the policy

limitations (protests). Yet the Supreme Court has been clear on this point, that is, a “public

forum” and its scope are not created or designated “by inaction or by permitting limited

discourse, bur only by intentionally opening a non-traditional forum for public discourse.”

Cornelius, 473 U.S. at 811; see also Hodge, 799 F.3d at 1161-62. In Hodge, the court found that

it was of “no moment that the Supreme Court police in certain situations might opt to allow

demonstrators onto the plaza for a brief period, presumably in an effort to exercise enforcement

authority with responsible (in viewpoint neutral) discretion and unique circumstances.” Id.

Thus, the policy’s limitations and the permitting practice, when measured against the physical

and functional characteristics of the Courthouse grounds, do not satisfy the elements necessary to

establish an unlimited designated public forum.

       One final note – deciding between whether the Courthouse grounds are either a

“traditional” or “designated” public forum is not entirely academic and is, in fact, significant to

the Defendant and its authority to manage the uses allowed on the Courthouse grounds. Whereas




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      Case: 3:20-cv-00224-NBB Doc #: 76 Filed: 02/22/21 7 of 17 PageID #: 1502




traditional public forums may not, as a general proposition, be limited or closed for First

Amendment purposes, in the case of a “designated” public forum, the government may

“withdraw” the designation and thereby close the space or forum as a place of public expression.

See United States v. Gilbert, 130 F. 3d 1458, 1461 (11th Cir. 1997); Wells v. City of Denver, 257

F. 3d 1132, 1145 (10th Cir, 2001). Therefore, should this court find that the Courthouse grounds

serve as a designated public forum, the Defendant would be free to exercise its discretion to

withdraw the designation by amending the Facility Use Policy.



                             A Designated Limited Public Forum

       The Defendant’s Facility Use Policy clearly establishes a “limited” designated public

forum within the Courthouse grounds. In Freedom From Religion Foundation, Inc. v. Abbott,

955 F.3d 417, 426 (5th Cir. 2020), the Fifth Circuit acknowledged the distinction between

“limited” and “unlimited” designated public forums, observing that “limited public forums are

places that the government has opened for public expression of particular kinds or by particular

groups.” Id.; see also Chiu v. Plano Indep. School Dist., 260 F.3d 330, 346 (5th Cir. 2001). “The

government can restrict speech in a limited public forum…. as long as the restriction is (1)

reasonable in light of the purpose served by the forum and (2) does not discriminate against

speech on the basis of viewpoint.” Abbott, 955 F. 3d at 426-27. In Chiu, the Fifth Circuit noted

that distinguishing between the two types of forums, that is limited and unlimited, depends on

two factors: (1) the government’s intent with respect to the forum, and (2) the nature of the

forum and its compatibility with the speech at issue. Chiu, 260 F. 3d at 346. In our case, the

defendant’s facility use policy is the expression of the defendant’s “intent” with regard to the

Courthouse grounds and the limited nature of the uses permitted under the policy. To reiterate, as




                                                                                                7
      Case: 3:20-cv-00224-NBB Doc #: 76 Filed: 02/22/21 8 of 17 PageID #: 1503




delineated in the defendant’s motion for summary judgment, the facility use policy limits the

nature of the activities (nonprofit and political organizations for discussion only) and time of use

(Monday through Friday and limited weekends), all subject to specific permission. In addition,

the nature of the forum (Circuit Courthouse) is clearly not compatible with “the speech at issue.”

Indeed, the “speech at issue” – involving a night time projection on the Courthouse walls – offers

a significant distraction to passing motorists and risk to pedestrian safety and detracts from the

dignity of the Courthouse. Although Rash’s proposed use (art display) falls within the permitted

uses of the Policy (unless after dusk and before dawn), the limited nature of the forum entitles

the Defendant to apply “reasonable” restrictions which are content neutral.



                               III. The “Dusk to Dawn” Closure Restriction


       If the court finds that the Courthouse grounds have been designated as a “limited” public

forum, then the Defendant need only show that any restrictions on permitted uses are both

reasonable and viewpoint neutral. Abbott, 955 F.3d at 426-27. The “dusk to dawn” restriction

which prohibits all uses (political speech and otherwise) from dusk to dawn is clearly reasonable

and viewpoint neutral as a matter of material, undisputed, fact.

       Assuming the Lafayette County Courthouse grounds are either a traditional or an

unlimited “designated” public forum, the Defendant’s “dusk to dawn” restriction constitutes a

reasonable “time, place, manner” restrictions which is content neutral. Indeed, Rash does not

take issue with the restriction’s “viewpoint neutrality.” (Plaintiff’s Supporting Memorandum, p.

17-18). Instead, Rash contends (contrary to the court’s preliminary injunction ruling) that the

restriction is not “narrowly tailored” to advance a significant governmental interest, and that any

articulated “interests” (traffic and pedestrian safety) are “too speculative.” (Plaintiff’s Supporting


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       Case: 3:20-cv-00224-NBB Doc #: 76 Filed: 02/22/21 9 of 17 PageID #: 1504




Memorandum, p. 17-18). 1 In making his case, Rash does not accurately and completely state the

intermediate scrutiny test which applies to content neutral restrictions in traditional and

designated unlimited public forums.

        As this court held in denying the plaintiff’s Motion for Preliminary Injunction, a content

neutral regulation of time, place, and manner of expression in a public forum is permitted when it

is narrowly tailored to serve a significant government interest and leave open ample alternative

channels of communication. See Moore, 868 F.3d at 403- 04; see also Packingham v. North

Carolina, 137 S. Ct. 1730, 1736 (2017). A content neutral restriction does not undergo “strict

scrutiny.” Rather, such restrictions are evaluated under “intermediate scrutiny” which the Fifth

Circuit has emphasized “does not require that the least restrictive means be used.” Moore, 868

F.3d at 404. Ward v. Rock Against Racism, 491 U.S. 781, 798 (1989). “As long as the restriction

promotes a substantial governmental interest that would be achieved less effectively without the

restriction, it is sufficiently narrowly tailored.” Serv. Employees International Union v. City of

Houston, 595 F.3d 588, 596 (5th Cir. 2010). An ordinance is narrowly tailored if there is a

“reasonable fit” between the stated governmental interest and the ordinance provision at issue.

Cincinnati v. Discovery Network, 507 U.S. 410, 416 (1993).



                                   Significant Governmental Interest

        As pointed out in the Defendant’s Brief in support of its Motion for Summary Judgment,

the courts which have considered similar time restrictions, that is, curfews which effectively



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  Although he does not argue “vagueness” as a separate basis of attack on the “dusk to dawn” restriction, Rash
makes brief mention that the use of “dusk” could be considered vague because Board members, who have not had a
role in the administration of the policy, had different understandings of when “dusk” occurred. However, the term is
clear on its face and is consistently applied by Lisa Carwyle, the County Administrator, who was delegated the task
of processing permit applications and the general enforcement of the Facility Use Policy. See Carwyle Supplemental
Affidavit, Exhibit A hereto.


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      Case: 3:20-cv-00224-NBB Doc #: 76 Filed: 02/22/21 10 of 17 PageID #: 1505




close even “traditional” public forums like parks, for night time use have consistently ruled that

a government’s interest in safety and the coordination of uses of extremely limited space are

substantial as a matter of law. See Moore, 868 F.3d at 404; see also Lauder, Inc. v. City of

Houston, 751 F. Supp.2d 920, 930 (S.D. Tex. 2010) (evidence amply supports a finding that the

city’s interest in public safety and aesthetics are substantial). “Public safety is not only a

substantial government interest, but a compelling one at the heart of government’s function.”

Houston Chronicle Publishing Co. v. City of League City, 488 F.3d 613, 622 (5th Cir. 2007).

Indeed, Lafayette County is not required to present detailed evidence of a real and substantial

governmental interest based on past experience but rather it may “advance its interest by

arguments based on appeals to common sense and logic.” Coalition for the Abolition of

Marijuana Prohibition v. City of Atlanta, 219 F.3d 1301, 1318 (11th Cir. 2000); see also Clark v.

Community for Creative Nonviolence, 468 U.S. 288, 296 (1984); Beasley, 2012 U.S. Dist.

LEXIS 198622 (N.D. Ga. 2012) (even if “generic,” city’s interests in maintenance, noise

reduction, safety, and crime reduction, are significant governmental interests when justifying

park closure provisions).

       The proof before the court during the preliminary injunction hearing and as supplemented

by the additional evidence submitted in support of the Defendant’s Motion for Summary

Judgment (and incorporated herein by reerence) established a significant and even “compelling”

governmental interests which were served by the closure. As the court found, in consultation

with Sheriff East, the Lafayette County Board of Supervisors determined that the interest of

pedestrian and traffic safety substantiated the need to impose a nighttime prohibition on the use

of the grounds. These interests are clearly suggested under the circumstances and environment of

the Courthouse which stands at the center of a very busy town Square. Also, the area is poorly lit




                                                                                               10
       Case: 3:20-cv-00224-NBB Doc #: 76 Filed: 02/22/21 11 of 17 PageID #: 1506




and typically serves as a “pass-through” for pedestrians walking to the area shops, restaurants

and bars. Significantly, the area is frequented by students enrolled at the University of

Mississippi who are drawn by the bars and restaurants located in and around the town Square.

Further, recent experiences with individuals desiring to demonstrate in front of the confederate

statue demonstrated a real and ongoing pedestrian and traffic safety issue which posed a strain on

the Sheriffs Department during the daylight hours when these demonstrations occurred.

Allowing the use of the Courthouse grounds during the late evening hours posed an unnecessary

and unreasonable risk to pedestrian traffic safety and added strain on limited law enforcement

resources. As to Rash’s proposed use, in particular, a night time projection onto the Courthouse

walls intended to be viewed by passing motorists falls well within the County’s significant

interests in pedestrian and traffic safety 2. Common sense and logic compels this conclusion.



                  Narrow Tailoring and Ample Alternative Means of Expression

         The County’s “dusk to dawn” closure of the Courthouse grounds also satisfies the

requirement that as “time, place and manner” restriction, it must be narrowly tailored to serve a

significant governmental interest and leave ample means of alternative places for expression. Of

course, so long as the policy is content neutral, the restriction “need not be the least restrictive or

least intrusive means of doing so.” Ward v. Rock Against Racism, 491 U.S. 781, 798 (1989).

There must be a “reasonable” fit between the significant interest at issue and the restriction

which is imposed to serve that interest. Ward, 491 U.S. at 800. Further, the restriction must




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  Rash asserts that he was granted a permit by the County in July 2019 for an evening use of the Courthouse grounds
in order to project an art display on the Courthouse walls. This is incorrect. According to Carwyle, Wayne Andrews
inquired abut the use of the grounds at night to show “cartoons and art” but did not submit a permit application and a
permit was not issued. (Carwyle Supplemental Affidavit, Exhibit A hereto).


                                                                                                                   11
      Case: 3:20-cv-00224-NBB Doc #: 76 Filed: 02/22/21 12 of 17 PageID #: 1507




“leave open an alternative channel of communication” but not necessarily the alternative the

plaintiff desires. Id.

        Rash cites Occupy Eugene v. U.S., 43 F. Supp. 3d 1143 (D. Or. 2014) and Lopez v.

Town of Cave Creek, 559 F. Supp. 2d 1030 (D. Ariz. 2008) in support of his contention that the

“dusk to dawn” restriction is not narrowly tailored. Yet these cases are not factually analogous.

In Occupy Eugene, the plaintiff challenged a GSA regulation which limited the use of a park

area (a traditional public forum) to the hours of 8:00 AM to 5:00 PM, Monday through Friday.

Occupy Eugene, at 1147. Further, in ruling in the plaintiff’s favor, the court made clear that its

ruling was “limited to the facts on this limited record” while expressing discomfort that the GSA

was limiting use in the traditional forum to “normal business hours.” Id. at 1152. The court

observed that the GSA did not, in any event, advance any rational explanation for the business

hours limitation, but indicated that “one could make a strong argument that a 7:00 am to 10:00

pm limitation would be narrowly tailored to support GSA’s legitimate interests. Id. at 1151.

        Lopez is also not helpful to the plaintiff’s cause. In Lopez, the court noted that although

traffic safety is a significant government interest, the defendant did not provide any evidence

that traffic safety was endangered by the day time solicitation prohibited by the challenged

ordinance nor was that concern even mentioned when the anti-solicitation ordinance was

adopted. Lopez, 559 F. Supp. 2d at 1034. In our case, the record clearly establishes that

pedestrian and traffic safety concerns motivated the Defendant’s decision to impose the “dusk to

dawn” restriction. Common sense and logic also informs the conclusion that the restriction has a

reasonable fit to these asserted interests, unlike Occupy Eugene and Lopez.

        Finally, the record unequivocally establishes that the plaintiff had, and has, ample

alternatives to the proposed use. In any event, the guarantees of the First Amendment have never




                                                                                                12
      Case: 3:20-cv-00224-NBB Doc #: 76 Filed: 02/22/21 13 of 17 PageID #: 1508




meant “that people who want to propagandize protest or views have a constitutional right to do

so whenever and however and wherever they please.” Greer v. Spock, 424 U.S. 828, 836 (1976).

The touchstone is whether the alternative spaces allow the speaker to reach a similar audience.

See Heffron v. International Society for Krishna Consciousness, Inc., 452 U.S. 640, 655 (1981).

For example, in Grisham v. City of Fort Worth, 2015 WL 3901612 (N.D. Tex. 2915), the

government required speakers with a message that they wished to share with participants in a

Festival to do so at a location immediately across the street from the Festival’s footprint. The

court found that the speakers could effectively convey their views to participants in the Festival

from the other side of the road. Because the plaintiff in our case arranged to produce his video

display at the City Hall Plaza which is within feet of the East side of the Lafayette County

Courthouse (the area of the proposed use), the plaintiff clearly enjoyed ample alternative means

to display the art projection. In denying Plaintiff’s Motion for Preliminary Injunction, this court

found that the County’s institution of the “dusk to dawn” prohibition reasonably advanced

identified significant governmental interests and did not effectively foreclose “ample alternative

means to communicate his message to a similar, if not identical, audience.” As the court

observed, Rash had arranged to produce his art installation at City Hall “which is within mere

feet of the East side of the County Courthouse which, in fact, served as ample alternative means

to communicate his message.”



                   IV.    The Facial Challenge to the Permit Requirement

       It is Rash’s position that the Facility Use Policy’s permitting requirement which, in part,

requires all users of the Courthouse grounds (one person within the Courthouse grounds proper

and groups of five or more individuals congregating around the confederate memorial) to first




                                                                                                13
      Case: 3:20-cv-00224-NBB Doc #: 76 Filed: 02/22/21 14 of 17 PageID #: 1509




obtain a permit constitutes an unconstitutional prior restraint. Because these aspects of the

County’s permit requirements were not “applied” to Rash when his application for a permit was

denied in July 2020, he presents a “facial” challenge to the policy. The “facial” validity of an

ordinance is a question of law. See Village of Hoffman Estates, Inc. v. Flipside Hoffman Estates,

Inc., 455 U.S. 489, 494 (1982); see also Center for Individual Freedom v. Carmouche, 449 F.3d

655, 662 (5th Cir. 2006).

       The Fifth Circuit in Sonnier v. Crain, 613 F.3d 436, 443 (5th Cir. 2010) noted that “a

facial challenge is of course the most difficult challenge to mount successfully, since the

challenger must establish that no set of circumstances exists under which the act would be valid.”

(Citing U.S. v. Salerno, 481 U.S. 739, 745 (1987). A facial challenge will fail when the statute

has a “plainly engine legitimate sweep.” Crain, 6131 F.3d at 443. “Facial challenges are best

when infrequent. Although passing on the validity of a law wholesale may be efficient in the

abstract, any gain is often offset by losing the lessons taught by the particular, to which common

law method normally looks.” Sabri v. United States, 541 U.S. 600, 608 – 09 (2004).

       As discussed in its Brief in Support of its Motion for Summary Judgment, it is the

County’s position that Rash does not have standing to raise a facial challenge to policies and

practices which were not applied in denying Rash a permit. It is the plaintiff’s burden to establish

that he has the requisite standing to challenge the Defendant’s permit requirement. Lujon v.

Defenders of Wildlife, 504 U.S. 555, 561 (1992). Rash must establish that he has suffered an

“injury in fact.” Elk Grove Unified Sch. Dist. V. Newdow, 542 U.S. 1, 11 (2004). A plaintiff

must establish that he has sustained or is immediately in danger of sustaining some direct injury

as the result of the challenged official conduct and the injury or threat of injury must be both real

and immediate, not conjectural or hypothetical. Los Angeles v. Lyons, 461 U.S. 95, 101 (1983).




                                                                                                  14
      Case: 3:20-cv-00224-NBB Doc #: 76 Filed: 02/22/21 15 of 17 PageID #: 1510




Abstract injury is not enough to confer standing. Although the existence of an allegedly vague or

overbroad statute can establish a sufficient injury to support standing, rash does not allege that

either exists in his present motion. See Center for individual Freedom v. Carmouche, 449 F.3d

655, 660 (5th Cir. 2006). However, allegations of chilled speech or self censorship “must arise

from a fear of prosecution that is not imaginary or wholly speculative.” Id. If a plaintiff cannot

establish injury, they have no standing in their unconstitutional challenges fail. See Freedom

Path, Inc. v. IRS, 913 F.3d 503, 506 – 08 (5th Cir. 2019); Henderson v. Stalder, 287 F.3d 374,

380 (5th Cir. 2002) (plaintiffs failed to allege an injury in fact and therefore lacked standing to

challenge the facial constitutionality of statute); see also Three Expo events, LLC v. City of

Dallas, 907 F.3d 333 (5th Cir. 2018) (when plaintiff alleges injury derived from government’s

actions toward someone else, more is necessary). As the summary judgment record clearly

reflects, Rash describes himself as a “curator” of art, including projection displays, and an

observer and photographer of events around the Square, including demonstrations and protests.

Although he claims that he “intends” to participate in demonstrations in the future, such bare-

bones expressions of future intent are insufficient to establish standing to launch a facial attack

on the defendant’s permitting requirements. Beyond standing, these claims are not ripe for a

judicial determination. Assuming Rash satisfies the standing and ripeness threshold, Rash cannot

meet the “heavy burden” in advancing a cognizable facial claim.

       Pursuing his “facial” attack on the County’s requirement that certain users of the

Courthouse grounds first obtain a permit, Rash relies on Knowles v. City of Waco, 462 F.3d 430

(5th Cir. 2006). In Knowles, the court considered whether Waco’s parade ordinance, to the

extent it required a permit to engage in a parade or demonstration on city streets for as few as

two individuals, was an unconstitutional prior restraint. Essential to the court’s decision that the




                                                                                                 15
      Case: 3:20-cv-00224-NBB Doc #: 76 Filed: 02/22/21 16 of 17 PageID #: 1511




advance permit requirement could not be constitutionally justified was the reality that the activity

was to take place on “traditional” public forum areas such as streets and sidewalks. In these

areas, the presence of two individuals “would not interfere meaningfully” with the government’s

asserted interests (traffic and pedestrian safety). Further, the court noted the ordinance’s

exceptions for certain users which undermined the traffic and pedestrian safety justifications for

permit requirement, exceptions which are not present here.

        Obviously, any advance permit requirement is a form of prior restraint, but no case has

applied a per se rule of unconstitutionality to an administrative permitting scheme. Instead, in

Knowles, as well as the other decisions from other circuits cited in Rash’s brief on this point,

(which he contends justifies the “per se” rule of unconstitutionality he advocates here), context is

all important. In these decisions, the courts considered a permitting requirement for one or a few

individuals in traditional public forum areas where the asserted governmental interests could not

be “meaningfully” implicated or adversely affected, unlike here. In our case, an advance permit

requirement is fully justified and reasonable because the Courthouse grounds are a place of

business, are narrowly confined and subject to competing uses. Obviously, in the context of the

Circuit Courthouse grounds, the requirement that one or more users, depending on the area

within the grounds, must obtain a permit not only serves traffic and pedestrian safety interests

but also the interest in maintaining an appropriate environment conducive to court operations. To

allow unfettered uses or uses in greater numbers (Rash does not suggest which number would be

appropriate) without permitting would be certain to interfere with the County’s interests in

managing the Courthouse environs while court is in session and otherwise.




                                                                                                 16
      Case: 3:20-cv-00224-NBB Doc #: 76 Filed: 02/22/21 17 of 17 PageID #: 1512




                             IV.    Conclusion

Wherefore, premises considered, the Defendant respectfully requests that this Court deny the

present motion. The Defendant also requests any other relief which the court may find warranted

in the premises.




THIS, the 22nd day of February, 2021.

                                                   Respectfully submitted,

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                                                   /s/ David D. O’Donnell
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                                   CERTIFICATE OF SERVICE
        I, David D. O’Donnell, hereby certify that I electronically filed the foregoing with the
Clerk of the Court using the ECF system which sent notification of such filing to all counsel of
record.
       This the 22nd day of February, 2021.

                                              /s/ David D. O'Donnell
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                                                                                             17
